






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00174-CR






Ambrose Williams, Appellant




v.




The State of Texas, Appellee







FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT


NO. 20,086-CR, HONORABLE CHARLES L. LANCE, JUDGE PRESIDING







	Williams appealed the revocation of his probation on a charge of attempted burglary
and his sentence to eight years in prison.  He contended that the district court erred by denying his
request for a jury to determine his competence to stand trial.  We abated this appeal and remanded
the cause for a jury to determine whether Williams was competent to participate in the hearing on
the motion to revoke his probation.  We stated, "If the jury finds that he was competent, the parties
will be permitted to brief any issues relating to the finding of competence."

	During the abatement, a jury found Williams was competent to stand trial.  More than
thirty days have passed since the record of that proceeding was filed in this court. Williams has not
filed a brief regarding any issues relating to the finding of competence.  


	Because his sole complaint on appeal has been addressed and its resolution supports
the judgment, we affirm the judgment. 



					                                                                                    

					Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Affirmed

Filed:   March 21, 2002

Do Not Publish 


